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10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       )   No. CR 21-0402 RS
14                                                   )
             Plaintiff,                              )   UNITED STATES’ OPPOSITION TO
15                                                   )   DEFENDANT MAKRAS’ MOTIONS IN LIMINE
        v.                                           )
16                                                   )   Pretrial Conf.: July 27, 2022, 9:30 a.m.
     VICTOR MAKRAS,                                  )   Dept: Courtroom 3 – 17th Floor
17                                                   )   Judge: Hon. Richard Seeborg
             Defendant.                              )
18                                                   )
                                                     )
19                                                   )

20      I. INTRODUCTION
21           Defendant Victor Makras seeks to wholesale exclude all of the government’s evidence in its
22 revised 404(b) notice, mischaracterizing it as evidence tied only to the honest services fraud charges

23 against co-defendant Harlan Kelly. In fact, the evidence the government seeks to introduce is

24 inextricably intertwined with, and directly related to, the bank fraud charges against defendant Makras.

25 The evidence is also admissible under Fed. R. Evid. 404(b) because it goes to Makras and co-defendant

26 Kelly’s motive, intent, and lack of accident and mistake in committing the charged offenses. The

27 evidence should be admitted.

28

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 1          II.      DEF. MOTION IN LIMINE NO. 1: EVIDENCE OF KELLY’S CONSTRUCTION DEBTS AND
                     CORRUPT RELATIONSHIP WITH CONTRACTOR WONG SHOULD BE ADMITTED
 2
                  a. THE EVIDENCE IS INEXTRICABLY INTERTWINED WITH THE BANK FRAUD CHARGES
 3

 4          Makras and co-defendant Harlan Kelly are charged with making false statements and

 5 representations to Quicken Loans as part of a scheme to secure a $1.3 million mortgage refinance for co-

 6 defendant Kelly and his wife, Naomi Kelly on their residence on 11th Avenue in San Francisco. As part

 7 of its proof of these misrepresentations, the government has given notice that it intends to introduce

 8 evidence that at the time of the Quicken Loan application, Kelly had over $89,000 in unpaid

 9 construction debt that was not disclosed to Quicken. The government’s evidence will show that

10 Quicken specifically wanted to know, and required the borrower to disclose, unpaid construction debts.

11 This information was material to Quicken. Thus, the admission of evidence that Kelly had this $89,000

12 in unpaid construction debt is inextricably intertwined with the bank fraud and false statements to the

13 bank charges. Kelly’s concealment of the debt, and Makras’ participation in that concealment, forms

14 one of the bases for the false statement and fraudulent misrepresentation to Quicken.

15          Defendant Makras concedes, as he must, that the evidence that Kelly had unpaid construction

16 debt of $89,000 is a part of the bank fraud and false statement charges, and is thus admissible. Makras

17 writes in his motion in limine, “the only ‘part’ of the foregoing evidence the government needs for the

18 bank fraud case is the fact that Mr. Kelly accrued a liability to a construction contractor that the
19 government - but not the defendants - concede was not disclosed to Quicken.” Dkt. 81, 7:9-11.

20          What defendant Makras objects to is admission of any evidence as to why Kelly did not disclose

21 the unpaid construction debt to Quicken. But it is the why the $89,000 construction debt was concealed

22 and misrepresented that is crucial in explaining the rationale for the fraud. Thus, the evidence is

23 relevant and admissible as evidence inextricably intertwined with the bank fraud charges.

24          The government seeks to introduce evidence that this construction work was done by a

25 contractor name Walter Wong, whose company did extensive construction and remodel work on Kelly’s

26 house over a 10-month period. The government’s evidence will show that Wong embarked on this work

27 with no estimate or scope of work, no bill, no deposit, and no advance payment for materials or costs

28 from Kelly. The government’s evidence is that Wong only billed Kelly for the work after Kelly’s loan

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 1 with Quicken had been approved, and that Wong significantly underbilled Kelly for the work. And the

 2 government will show that Wong did this for a reason; that his company hoped to bid on an upcoming

 3 multi-million contract to install “smart” LED lights on city streets that the PUC had just put out for bid

 4 (known as a Request for Proposal, or RFP), and he believed that Kelly, as head of the PUC, could help

 5 him. Finally, the government’s evidence is that Kelly knew that Wong was interested in the LED lights

 6 contract, texting Wong on September 21, 2014, referencing both the contract work and the RFP the PUC

 7 had just issued: “Btw, my loan was approved. We need to get together to chat how to reimburse you and

 8 rfp. I should get the money in three weeks.”

 9          These facts are necessary to explain why Kelly would not—in fact, could not—have disclosed

10 the construction debt to Quicken as required. Had Kelly disclosed the debt to Quicken, Quicken would

11 have conducted due diligence, asking questions about the source of the debt, seeking records of the

12 contract, the estimates, and whether payments had been made. Kelly could provide none of this to

13 Quicken, so he enlisted Makras to help him conceal the debt by falsely claiming that Kelly owed Makras

14 the money.

15            To exclude this evidence is to allow the defendant to keep from the jury a fundamental rationale

16 for the conspiracy. It denies the government its right to present evidence that explains the subterfuge

17 and false representations to Quicken, and thus “constitutes a part of the transaction that serves as the

18 basis for the criminal charge” or “is necessary . . . to permit the prosecutor to offer a coherent and
19 comprehensible story regarding the commission of the crime.” United States v. Vizcarra-Martinez, 66

20 F.3d 1006, 1012-13 (9th Cir. 1995). Excluding this relevant evidence leaves the government unable to

21 explain a central motive behind the bank fraud and false statements schemes.

22              b. EVEN IF THIS EVIDENCE IS 404(B), IT IS ADMISSIBLE TO SHOW MOTIVE, INTENT, AND LACK
                   OF MISTAKE OR ACCIDENT
23
            Even if the Court views some of the construction debt evidence as other act evidence under Fed.
24
     R. Evid. 404(b), it is nonetheless admissible to show Kelly’s motive and intent in conspiring with
25
     Makras to make false representations to Quicken, and to prove that their false statements to Quicken
26
     were neither mistake or accident.
27

28

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 1          To be admitted, 404(b) evidence must; 1) prove a material point; 2) not be too remote in time; 3)

 2 there must be sufficient proof for the jury to find the defendant committed the other act; and 4) in cases

 3 where it’s being used to prove intent, the acts must be sufficiently similar to the charged conduct.

 4 United States v. Lague, 971 F.3d 1032, 1038 (9th Cir. 2020), citing United States v. Bailey, 696 F. 3d,

 5 794, 799 (9th Cir. 2012). The Ninth Circuit has explained that Rule 404(b) is “a rule of inclusion” and

 6 that there is a “low threshold test” for the sufficiency of the evidence for admission. Lague, 971 F.3d at

 7 1038, citing United States v. Curtain, 489 F.3d 935, 944 (9th Cir. 2007), United States v. Dhingra, 371

 8 F.3d 557, 566 (9th Cir. 2004).

 9          The conduct is not remote in time. To the contrary, the unpaid $89,000 construction debt is

10 outstanding throughout the period that Kelly and Makras are seeking to refinance Kelly’s mortgages and

11 other debts through Quicken Loans, all in the fall of 2014.

12          Nor is the evidence insufficient. Sufficient evidence is such that could lead a jury “to reasonably

13 conclude that the [other] act occurred and that the defendant was the actor.” United States v. Hinton, 31

14 F.3d 817, 823 (9th Cir. 1994). Sufficient proof exists for the jury to find the other act merely from the

15 testimony of witnesses. United States v. Hadley, 918 F.2d 848, 851 (9th Cir. 1990). Here, the

16 government will present witness testimony, primarily from Wong, as well as documents, showing that

17 Wong performed extensive construction work for the Kellys, and underbilled them, all while preparing

18 to bid on the PUC contract, and that he did so in order to curry favor with Kelly, who led the PUC,
19 which was overseeing and issuing the contract.

20              c. THIS EVIDENCE IS NOT UNFAIRLY PREJUDICIAL TO DEFENDANT MAKRAS

21          Makras claims that regardless of its relevance, he had no knowledge of Kelly’s construction debt,
22 nor his corrupt relationship with Wong, and thus admission of the evidence does not prove his

23 participation in the conspiracy, and is unfairly prejudicial under Fed. R. Evid. 403.

24          First, the evidence as to the extent of Makras’ knowledge, or lack thereof, of Kelly’s construction
25 debts is not as clear-cut as the defendant claims. The evidence the government intends to introduce will

26 show that Kelly had borrowed $715,000 from Makras to finance his home construction. The evidence

27 will further establish that, when Kelly was seeking to pay off that debt and another mortgage with a $1.3

28

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 1 million loan from Quicken, Kelly asked Makras to draft and submit to Quicken a document claiming

 2 that Kelly had borrowed an additional $200,000 from Makras. In a text to Makras asking him to create

 3 this false document, Kelly claimed he needed the additional $200,000 “for money paid and money

 4 owed.” Makras complied, submitting documents to the title company, for use in the Quicken loan

 5 application, that Kelly owed Makras $915,000 in a mortgage on Kelly’s property.

 6          Nonetheless, Makras asserts that he did not know Wong, and did not know that Wong was

 7 seeking business with the City of San Francisco. It does not follow, however, that the jury is not entitled

 8 to hear evidence of Kelly’s motive as one piece in the evidentiary chain establishing that there was in

 9 fact a conspiracy between Kelly and Makras to commit bank fraud. Evidence of one co-conspirator’s

10 motives for entering a conspiracy is admissible against other conspirators to prove the existence of a

11 conspiracy. See United States v. Testa, 548 F.2d. 847, 851 (9th Cir. 1977) (“acts by others . . . before or

12 after the conspiracy may be relevant in suggesting the existence and aims of the conspiracy charged.”);

13 United States v. Sierra, 892 F.2d 84 (9th Cir. 1989).

14          Courts in this circuit and others have repeatedly emphasized that evidence that is otherwise

15 relevant and admissible may only be excluded when the potential for unfair prejudice substantially

16 outweighs the probative value of the evidence. See United States v. Skillman, 922 F.2d 1370, 1374 (9th

17 Cir. 1990). Mere prejudice to the defendant is not enough; the evidence must be unfairly prejudicial.

18 United States v. Blitz, 151 F.3d 1002, 1009 (9th Cir. 1998). As the court noted in Blitz, quoting United
19 States v. Parker, 549 F.2d. 1217, 1222 (9th Cir. 1977), evidence “‘is not rendered inadmissible because

20 it is of a highly prejudicial nature .... [t]he best evidence often is.”’ Only evidence that “‘has an undue

21 tendency to suggest decision on an improper basis, commonly, though not necessarily, an emotional

22 one”’ is considered “unfairly” prejudicial. Skillman, 922 F.2d at 1374.

23          The correct course for the Court is not to exclude this relevant evidence. Rather, it is for the

24 Court to admit the limited evidence above, and for defendant Makras to argue that he was unaware of

25 this motive and was thus not a knowing participant in the conspiracy. With a proper limiting instruction,

26 this is a question the jury can and should decide.

27              c. THE GOVERNMENT DOES NOT SEEK TO ADMIT MOST OF THE HONEST SERVICES FRAUD
                   EVIDENCE
28

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 1          The government’s separate honest services fraud charges against defendant Kelly encompass the

 2 $89,000 construction work on Kelly’s residence, but extend much farther, including allegations that

 3 weeks and months after the construction work was completed, Kelly provided Wong with internal PUC

 4 documents regarding the PUC contract, and that Wong provided additional benefits to Kelly, including

 5 the payment of expenses during a trip to Hong Kong, and later repair work on Kelly’s residence. See

 6 Dkt. 64 (Superseding Indictment). Defendant Makras claims that he will be forced to defend against all

 7 of these allegations related to the PUC contract, arguing in his motion that the admission of any

 8 evidence Wong sought to bid on a future PUC contract would force Makras “to delve into that

 9 procurement process, if the Court permits the identified honest services fraud evidence, to contextualize

10 Mr. Kelly’s interactions with Mr. Wong. . . . [t]he result would be a trial-within-a-trial - on a matter that

11 Mr. Makras had nothing to do with.” Dkt. 81, 9:21-24.

12          This a red herring. The government does not need to, nor does it intend to, introduce evidence

13 about Mr. Kelly’s long-running corrupt relationship with Mr. Wong regarding the PUC contract, which

14 was in fact put out for bid multiple times over the course of almost two years. In fact, the government

15 does not need to introduce any more of the PUC evidence than simply that the PUC had put out a

16 contract for bid in September 2014, during the conspiracy period, and that Wong was performing

17 construction work on Kelly’s residence in the hope of future help from Kelly with the PUC contract.

18 Specifically, the government seeks to introduce evidence to prove the following: 1) During the
19 conspiracy period, Walter Wong was a contractor who ran entities that did or sought business with the

20 PUC; 2) Kelly hired Wong to perform extensive construction work on Kelly’s residence; 3) By

21 September 2014 Wong had substantially completed the work, but had not been paid, or provided Kelly

22 with an estimate or bill; 3) At this time, Wong was seeking to bid on an upcoming PUC contract to

23 provide LED lights to the city; and, 4) In September 2014, the PUC put out a request for bids for the

24 PUC lights contract Wong was seeking to bid on.

25          None of the above, limited facts, are unduly prejudicial, nor will they result in a trial-within-a-

26 trial. Rather, they provide the necessary context and understanding for the unpaid $89,000 construction

27 debt, and why it was concealed from Quicken. As such, the government respectfully asks that the Court

28 admit this evidence, and provide as necessary limiting instructions.

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 1

 2

 3 III.     DEF. MOTION IN LIMINE NO. 2: EVIDENCE OF KELLY’S FILED STATEMENTS OF ECONOMIC
            INTERESTS (FORM 700S)
 4
            a. CO-DEFENDANT KELLY’S STATEMENTS OF ECONOMIC INTEREST ARE ADMISSIBLE AS
 5
               EVIDENCE THAT KELLY AND MAKRAS’ REPRESENTATIONS TO QUICKEN WERE FALSE
 6

 7          The defendant next objects to the government’s proposed introduction of the publicly-filed

 8 Statements of Economic Interest (Form 700s) of co-defendant Kelly covering the time period of the

 9 charged scheme and conspiracy, and expert testimony on their contents and requirements.

10          The Form 700s would show that co-defendant Kelly never disclosed a $915,000 mortgage loan

11 with Victor Makras on his forms, as he would have been required to do had he in fact had a $915,000

12 mortgage loan with Victor Makras. This is evidence that a jury could use to conclude that the assertion

13 to Quicken Loans, by both Kelly and Makras, that Kelly had a $915,000 mortgage loan with Makras,

14 was false. The Form 700s are filed publicly and subject to scrutiny; Kelly would put himself at risk

15 professionally and legally were he to falsely disclose a loan he did not in fact have. The fact that he did

16 not disclose it can go to show that what Kelly and Makras then disclosed privately to Quicken Loans

17 was therefore false. This evidence is inextricably intertwined with the alleged false and fraudulent

18 statements because it is evidence that tends to show the misrepresentations and concealments at the heart
19 of the bank fraud charges were false. As such, it should be admitted.

20          Defendant Makras claims that he had no knowledge of Kelly’s Form 700s or what Kelly filed on

21 them, and that makes their admission unfairly prejudicial to Makras. But that does not make the

22 evidence irrelevant. The Form 700 statements are circumstantial evidence that the statements made by

23 Kelly and Makras to Quicken that Kelly had a $915,000 mortgage loan with Makras were knowingly

24 false. Makras may argue that he did not act with an intent to mislead and deceive Quicken when he

25 agreed to falsely claim to Quicken that Kelly in fact had a $915,000 loan from Makras, and he is entitled

26 to make those arguments. But the jury, in weighing Makras’ defense, is entitled to hear evidence that a

27 co-conspirator had taken steps that tend to show that Kelly and Makras’ statements to Quicken were

28 false.

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 1

 2

 3           b. SF ETHICS EXPERT COMMISSION EXPERT TESTIMONY IS ADMISSIBLE UNDER 404(B) TO SHOW
                MOTIVE AND INTENT FOR THE FALSE STATEMENTS AND REPRESENTATIONS TO QUICKEN
 4
             The government’s proposed ethics expert will next testify that defendant Kelly was prohibited
 5
     from soliciting or accepting any gift or loan from a person Kelly knew was doing business with or
 6
     seeking to do business with the PUC, which Kelly led. This evidence explains in part why Kelly sought
 7
     to conceal his relationship with Wong by enlisting Makras to falsely claim that the money was owed to
 8
     him, and enlisting Makras to agree to then pay Wong out of the proceeds from the Quicken Loan. Kelly
 9
     and Makras created a complicated subterfuge to conceal Kelly’s financial entanglement with Wong.
10
     Understanding why they would do that goes directly to the motive for the fraud, and it is evidence the
11
     jury is entitled to consider.
12
             Finally, the SF Ethics Commission expert will testify that the $70,000 interest-free loan
13
     defendant Makras provided to Kelly should have been disclosed. Kelly’s concealment of the $70,000
14
     personal loan on his Form 700s is inextricably intertwined with the charged offenses. It will be offered
15
     to prove that Kelly and Makras intentionally lied on Kelly’s Quicken Loan application when they both
16
     claimed Kelly had a $915,000 mortgage lien with Victor Makras in which he paid $4,766 a month in
17
     interest, even though both knew that this was false. If this Makras loan was indeed legitimate and
18
     structured as Kelly and Makras claimed on Kelly’s Quicken loan application, Kelly would have
19
     disclosed it as such on his Form 700, as he would have been required to do.
20
             Kelly’s Form 700s are also admissible under Fed. R. Evid 404(b) as evidence of Kelly’s motive
21
     and intent in falsely characterizing his debt to Makras on the Quicken loan application. The jury in this
22
     case is entitled to evidence he did not disclose the Makras loan or $70,000 advance on his Form 700
23
     filed in March 2014, to prove his intent to deceive in misrepresenting the loan to Quicken, and to show
24
     that the misrepresentations were neither accident nor mistake. This is a reasonable inference that the
25
     jury should be allowed to draw from Kelly’s Form 700s. “Extrinsic acts evidence may be critical to the
26
     establishment of the truth as to a disputed issue, especially when that issue involves the actor’s state of
27
     mind, and the only means of ascertaining that mental state is by drawing inferences from that conduct.”
28

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 1 Huddleston, 485 U.S. at 687. This is because the Government must affirmatively prove by direct

 2 evidence that the defendant intended the consequences of his actions. See e.g., United States v.

 3 Gruttaduro, 818 F.2d 1323, 1327-28 (7th Cir. 1987).

 4          Makras again claims this evidence is unfairly prejudicial to him because he did not know what

 5 Kelly did or did not disclose on his Form 700s. But again, the evidence is relevant because it goes to

 6 show part of Kelly’s motives to conspire with Makras to conceal the $70,000 debt from Quicken.

 7 Makras may argue that he did not act with an intent to mislead and deceive Quicken, and he is entitled to

 8 make those arguments. But the jury, in weighing Makras’ defense, is entitled to hear evidence that

 9 Makras’ co-conspirator Kelly was taking actions that show that the statements to Quicken were false.

10 IV.      DEF. MOTION IN LIMINE NO. 3: EVIDENCE OF KELLY’S SUPPORT FOR MAKRAS

11          Makras moves in his third motion in limine to exclude evidence “related to Mr. Makras’ election
12 as president of SFERS.” See Dkt. 81 at 8-9. The motion should be denied: That evidence is relevant to

13 motive and not unduly prejudicial.

14          On June 12, 2013, Makras was elected president of SFERS in a unanimous vote of the
15 commission’s seven members. A day later, on June 13, Makras texted Kelly: “Thanks you for all Your

16 help and support at SFERS.” Kelly wrote back, “What happen? I am returning from 2 days at hetchy.”

17 Makras then described the vote, texting, “7-0 Makras president 4-3 supervisor Cohen vice president.”

18          Makras’ text to Kelly captures the advantage to Makras from a favorable relationship with Kelly.
19 Presidency of the SFERS carried status and power, and Makras’ thank-you to Kelly conveyed both that

20 Makras valued that status and that Kelly had a hand in elevating Makras to it. The messages are

21 therefore relevant to the charged offenses as evidence of motive and not unduly prejudicial. The

22 government intends to argue to the jury that Makras conspired with Kelly in part to preserve a

23 relationship with a powerful public official—a relationship that, as Makras’ text message makes clear,

24 had already borne fruit in the form of help securing a plum commission presidency.

25          The Ninth Circuit has repeatedly upheld the admission of motive evidence in criminal cases
26 despite the fact that such evidence may prejudice a defendant. See, e.g., United States v. Parker, 549

27 F.2d 1217, 1222 (9th Cir. 1977) (“[E]vidence relevant to a defendant's motive ‘is not rendered

28

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 1 inadmissible because it is of a highly prejudicial nature. . . . The best evidence often is.’”), United States

 2 v. Holden, 625 F. App'x 316, 318 (9th Cir. 2014) (in health care fraud case, district court properly

 3 admitted evidence of defendant’s salary and business draws “as relevant to motive, not as general

 4 evidence of [defendant]’s wealth.”).

 5          Here, any prejudice does not substantially outweigh the probative value of Makras’ expression of

 6 gratitude to Kelly, to whom Makras lent $70,000 interest-free six months later and on whose behalf

 7 Makras later made false statements to Quicken Loans. Makras claims that the message would “beget a

 8 lengthy and irrelevant side-trial,” Dkt. 81 at 13:10, about Makras’ service on SFERS. Not so: What

 9 matters about the text message is that Makras felt indebted enough to send it and believed at the time

10 that Kelly had “help[ed] and support[ed]” Makras to become president of San Francisco’s public

11 retirement board. The jury can glean all that from the message itself—information about “the rules and

12 procedures of [SFERS] elections” and “any similar thank you messages Mr. Makras sent,” see Dkt. 81 at

13 13:10-15, is beside the point. The Court should admit the evidence.

14 V.       DEF. MOTION IN LIMINE NO. 4: EVIDENCE OF KELLY’S FAVOR TO “J.M.”

15          Defendant Makras moves in his fourth motion in limine to exclude evidence “related to Mr.
16 Kelly’s Purported Assistance to J.M.” See Dkt. 81 at 9-10. The motion should be denied: That evidence

17 is relevant and not unduly prejudicial.

18          On November 21, 2013, defendant Makras got an e-mail from one John McInerney. “I need a
19 favor from Harlan Kelly,” McInerney said, “and don’t know him well enough to ask him.” McInerney

20 described his situation: In essence, he wanted Kelly to agree in writing with McInerney’s interpretation

21 of a statute—an interpretation that would ease development of a project on San Francisco’s Larkin

22 Street. “It would be of GREAT assistance,” McInerney wrote, “[I]f I had a letter from Harlan . . . . Do

23 you think this is something Harlan would be willing to do? If so, then I can . . . expedite our discussions

24 with the Deputy City Attorney and Judge Beeler.”

25          Makras, it seems, took the matter up with Kelly: On Friday, November 29, a week after
26 McInerney’s e-mail, Makras sent Kelly a text message referencing McInerney’s “[e]mail to you on the

27 Request we spoke About on we’d [sic].” “Yes, I got it!” Kelly replied, “Will issue letter on Monday.”

28

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 1 Monday came and went, and Makras poked Kelly the following day: “Can you check and see If you got

 2 the mc Inerney email and if It was issued? Thanks.” “I got it and will be issue in the morning,” Kelly

 3 replied.

 4          Critically, Makras sent these messages just as he was also agreeing to pay $70,000 in credit card

 5 bills for Kelly and his wife. Indeed, in the very same message where Makras told Kelly that McInerneny

 6 sent his request, Makras agreed to “get the check ready” for the $70,000 that Kelly wanted. The nature

 7 and timing of these communications demonstrate the interest that Makras had in his relationship with

 8 Kelly, and the lengths to which Makras went to preserve that relationship. The jury should hear that

 9 Makras previously sought favors from Kelly contemporaneously with lending him tens of thousands of

10 dollars. That prior act evidence helps to contextualize Makras’ agreement to assist Kelly in the

11 refinancing of his mortgage, including by making false statements about that mortgage.

12          The Court should not preclude the evidence under Rule 403: The light shed on Makras’ motive

13 by lobbying for McInerney is not substantially outweighed by the danger of unfair prejudice. Makras

14 writes off his role as “incidental,” Dkt. 81 at 14:3-4, but that belies the fact that McInerney’s e-mail

15 suggests he would not have sought the favor from Kelly but for the relationship that Makras had with

16 Kelly. (It also overlooks the fact that Makras reminded Kelly at least twice about McInerney’s request.)

17 Moreover, the episode is not distant in time from the charged offenses: Rather, it shows Makras leaning

18 on Kelly to help an industry contact just as the obligation at the heart of the charged offenses arises. Nor
19 will admitting the evidence entail the seminar on real estate law that Makras seems to envision. See Dkt.

20 81 at 14:12-16 (suggesting that evidence would require testimony about “how the exemption process

21 works, [and] who has the authority to issue exemptions”). The point is that Makras got a chit with an

22 industry contact by leveraging his relationship with Kelly. That’s relevant to why Makras would later

23 shepherd Kelly’s refinance and make false statements to Quicken Loans. The evidence should be

24 admitted.

25 VI.      DEF. MOTION IN LIMINE NO. 5: THE GOVERNMENT IS ALLOWED TO USE THE WORD, OR A
            FORMULATION OF THE WORD,S “BACKDATING” OR “BACK DATED”
26
            Defendant Makras moves in his fifth motion in limine to preclude reference to the term
27
     “backdated” at trial. See Dkt. 81 at 10-12. The motion should be denied: The question, whether Makras
28

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 1 “backdated” a document purporting to amend Kelly’s mortgage, is one for the jury.

 2          Makras’ motion stems from a document titled “Straight Note-Modification” that Makras created

 3 at Kelly’s request in or around late April 2014. The document’s title appears at the top of the page,

 4 immediately adjacent to a date: December 2, 2013. Below that header appears a series of terms

 5 purporting to amend the “Original Note dated September 10, 2012.” The Kellys names’—and, in the

 6 executed version, signatures—appear below. The Kellys signed the document in or around May 1,

 7 2014—shortly after receiving the document from Makras and a few days after Kelly sent Makras the

 8 following text: “Victor, I wanted to cash out 200K. This amount is for [sic] pay for money received and

 9 money owed and pay off [NK] student loan. If you can put in a note saying I owe you it all good! We can

10 move forward.” See Dkt. 64 ¶ 8i.

11          The Court should not preclude use of the term, “backdated,” to describe the “Straight Note-

12 Modification” for several reasons. First and foremost, the word “backdate” accurately describes what

13 transpired here. Black’s Law Dictionary defines “backdate” to mean, “put[ting] a date earlier than the

14 actual date on (something, as an instrument).” BACKDATE, Black's Law Dictionary (11th ed. 2019).

15 Here, the actual date of the document’s creation and execution was months after the date that Makras

16 listed on the document’s header.

17          Second, Makras’ claim—that the “Straight Note-Modification” dated December 2, 2013 simply

18 purported to date Kelly’s “line of credit” to its first draw—is very much in dispute. The only date (other
19 than an expiration term and a reference to the original note) that Makras included on the “Straight Note-

20 Modification” was December 2, 2013—notwithstanding the fact that the Kellys executed the document

21 in May 2014. So Makras’ “Straight Note-Modification” creates the unmistakable but false impression

22 that the Kellys signed in December 2013. Moreover, that $70,000 payment that Makras made for Kelly

23 on December 2, 2013 came with none of the terms purportedly reflected in the “Straight Note-

24 Modification”: When Makras and Kelly communicated about the payment in December 2013, there was

25 no mention of “amend[ing]” the 2012 mortgage. Kelly didn’t pay interest on the $70,000, as the

26 “Straight Note-Modification” required. And he didn’t give Makras fifteen days’ notice. To suggest that

27 the date on the “Straight Note-Modification” simply identified Kelly’s first “advance” is to ask the court

28 and the jury to simply disregard these facts which are very much in dispute, and are entitled to go before

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 1 a jury.

 2           Makras’ other arguments to preclude the term, “backdating,” lack merit. Contrary to Makras’

 3 motion, see Dkt. 81 at 11:14-23, the question whether Makras and Kelly misrepresented the terms of an

 4 obligation is relevant to the charged offenses. At minimum, a knowing misrepresentation about the date

 5 on which an obligation arose bears on the question whether Makras made a knowing false statement to a

 6 bank. See 18 U.S.C. § 1014. The fact that Quicken may have had in its possession other documents, see

 7 id. at 11:21-23, does not make a statement that has a natural tendency to influence somehow

 8 immaterial—nor does it render a false statement true.

 9           Nor is it unduly prejudicial to examine witnesses and argue about “backdating” in a bank fraud

10 case where the document allegedly “backdated” was created five months after an obligation arose, at the

11 moment that Kelly’s mortgage broker wanted to lock in a rate, and at the insistence of Kelly, who asked

12 Makras to “put in a note.” Makras’ claim that “there is nothing wrong with the way the note

13 modification was dated,” Dkt. 81 at 11:26-27, is pure ipse dixit. The government will argue—and the

14 jury should be allowed to consider—that Makras backdated the document to conceal the fact that on the

15 eve of refinancing, Kelly wanted to gin up another $130,000 in purported mortgage debt to grease the

16 wheels of his construction project.

17           Finally, there’s no basis to tie the government’s hands with respect to its description of what

18 Makras wrote in the “Straight Note-Modification.” See Dkt. 81 at 16:3-7. The government’s view of
19 the evidence is that Harlan Kelly had not in fact modified his September 2012 mortgage as of December

20 2, 2013. To bind the government to terms like “retroactive” is tantamount to directing a finding of fact

21 on an issue very much in dispute when no evidentiary foundation for that finding has yet been laid.

22           The Court should deny Makras’ motion to preclude reference to backdating.

23

24
                                              V.      CONCLUSION
25
             For the foregoing reasons, the United States respectfully asks the court to deny defendant
26
     Makras’ motions in limine one through five.
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 1 DATED: July 15, 2022                             Respectfully submitted,

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 5                                                  ZACHARY G.F. ABRAHAMSON
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